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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 CLIFTON DAVID SIMS,
             Plaintiff
        v.                                           Civil Action No. 19-345 (CKK)
 DONALD J TRUMP, et al.,
             Defendants


                                        ORDER
                                   (February 12, 2019)
   In consideration of Plaintiff’s Ex-Parte Motion for Leave to File Complaint Using
Counsel’s Address in Violation of LCvR 5.1(e), and the entire record herin, it is this 12th
day of February 2019, hereby
   ORDERED that Plaintiff’s Motion is GRANTED; and it is further
    ORDERED that Plaintiff’s Complaint is hereby accepted and deemed filed, and
Plaintiff may proceed using his counsel’s address in all proceedings connected to this
action until such time as this Court orders, or the parties stipulate otherwise.
   SO ORDERED.
                                                          /s/
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge
